AO 245D (Rev. 09/19)   Judgment in a Criminal Case for Revocations
                       Sheet 1


                                     UNITED STATES DISTRICT COURT
                                                         Middle District of Tennessee

           UNITED STATES OF AMERICA                                    JUDGMENT IN A CRIMINAL CASE
                                V.                                     (For Revocation of Probation or Supervised Release)

                BILLY WAYNE NICHOLS
                                                                       Case No. 3:11-cr-00228
                                                                       USM No. 20923-075
                                                                        Robert Parris
                                                                                                Defendant's Attorney
THE DEFENDANT:
M) admitted guilt to violation of condition(s)           as indicated below             of the term of supervision.
❑   was found in violation of condition(s) count(s)                                after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number              Nature of Violation                                                              Violation Ended
1                              Failure to particiate in a drug treatment program                               03/04/2021

2                               Failure to notify probation officer of new residence                           03/18/2021

3                               Commission of state crime of evading arrest                                    03/10/2021



       The defendant is sentenced as provided in pages 2 through              4    of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
❑ The defendant has not violated condition(s)                              and is discharged as to such violation(s) condition.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in
economic circumstances.

Last Four Digits of Defendant's Soc, Sec. No.: 0353                                                 05/10/2021
                                                                                            Date of Imposition of Judgment
Defendant's Year of Birth:           1985

City and State of Defendant's Residence:                                                          Signature of Judge
Erin. Tennessee
                                                                                  Eli Richardson, United States District Ju
                                                                                                Name and Title of Judge

                                                                                                        02.0 21
                                                                                                            Date




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AO 245D (Rev. 09/19)   Judgment in a Criminal Case for Revocations
                       Sheet 2— Imprisonment
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DEFENDANT: BILLY WAYNE NICHOLS
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                                                            IMPRISONMENT

        The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of :
5 months




     ❑   The court makes the following recommendations to the Bureau of Prisons:




     6d The defendant is remanded to the custody of the United States Marshal.

     ❑   The defendant shall surrender to the United States Marshal for this district:
         ❑    at                                  ❑ a.m.        ❑ p.m,     on
         ❑    as notified by the United States Marshal.

     ❑   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         ❑    before 2 p.m. on
         ❑    as notified by the United States Marshal.
         ❑    as notified by the Probation or Pretrial Services Office.

                                                                     RETURN
I have executed this judgment as follows:




         Defendant delivered on                                                        to

at                                                  with a certified copy of this judgment.




                                                                                               UNITED STATES MARSHAL



                                                                         5-A
                                                                                            DEPUTY UNITED STATES MARSHAL




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AO 245D (Rev. 09/19)   Judgment in a Criminal Case for Revocations
                       Sheet 3 — Supervised Release
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                                                      SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of
 2 years




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 DEFENDANT: BILLY WAYNE NICHOLS
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                                   ADDITIONAL SUPERVISED RELEASE TERMS
The first 6 months of supervised release are to be served at a residential reentry center as soon as practicable.
All prior conditions of supervised release remain in effect.




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